AO 245C-CAED (Rev. 3/04) Sheet 1 - Amended Judgment in a Criminal Case                                  (NOTE: Identify Changes with Asterisks*)

                          Case 2:09-cr-00422-TLN Document 183 Filed 12/05/11 Page 1 of 5
                                             United States District Court
                                                 Eastern District of California
               UNITED STATES OF AMERICA                                        *AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                               (For Offenses Committed On or After November 1, 1987)
                                       v.                                      Case Number: 2:09CR00422-06


                        TEAONA WILLIAMS                                        Robert Holley, Appointed
                                                                               Defendant’s Attorney

Date of Original Judgment:                  November 14, 2011
(Or Date of Last Amended Judgment)

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                 [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances                          [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed R. Crim. P. 35(b))                                                    Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))       [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                 Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[U] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                 [ ] 18 U.S.C. §3559(c)(7), [ ] Modification of Restitution Order
THE DEFENDANT:
[U]         pleaded guilty to count(s): 1 of the Information .
[]          pleaded nolo contendere to counts(s)         which was accepted by the court.
[]          was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                 Date Offense                                            Count
Title & Section             Nature of Offense                                    Concluded                                              Number(s)
18 USC 641                  Theft of Government Property                         May 2007                                               1
                            (CLASS C FELONY)



        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)                  and is discharged as to such count(s).

[]          Count(s)            (is)(are) dismissed on the motion of the United States.

[U]         Underlying Superseding Indictment is dismissed by District Court upon motion of the United States.

[]          Appeal rights given.                                 [U]     Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                         December 2, 2011
                                                                         Date of Imposition of Judgment



                                                                         Signature of Judicial Officer


                                                                         WILLIAM B. SHUBB, United States District Judge
                                                                         Name & Title of Judicial Officer

                                                                         December 5, 2011
                                                                         Date
                     Case 2:09-cr-00422-TLN Document 183 Filed 12/05/11 Page 2 of 5
AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:                2:09CR00422-06                                                                                Judgment - Page 2 of 5
DEFENDANT:                  TEAONA WILLIAMS



                                                           *PROBATION

The defendant is hereby sentenced to *probation for a term of sixty (60) months .



The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)       the defendant shall not leave the judicial district without permission of the court or probation officer;
2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
         days of each month;
3)       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)       the defendant shall support his or her dependants and meet other family responsibilities;
5)       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
         acceptable reasons;
6)       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)       the defendant shall refrain from excessive use of alcohol;
8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
         of any contraband observed in plain view by the probation officer;
11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant's compliance with such notification requirement.
                    Case 2:09-cr-00422-TLN Document 183 Filed 12/05/11 Page 3 of 5
AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:               2:09CR00422-06                                                                    Judgment - Page 3 of 5
DEFENDANT:                 TEAONA WILLIAMS



                                   SPECIAL CONDITIONS OF PROBATION


1.       The defendant shall submit to the search of her person, property, home, and vehicle by a United States probation
         officer, or any other authorized person under the immediate and personal supervision of the probation officer, based
         upon reasonable suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation.
         The defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.

2.       The defendant shall not dispose of or otherwise dissipate any of her assets until the fine and/or restitution order by
         this Judgment is paid in full, unless the defendant obtains approval of the Court or the probation officer.

3.       The defendant shall provide the probation officer with access to any requested financial information.

4.       The defendant shall not open additional lines of credit without the approval of the probation officer.

5.       The defendant shall comply with the conditions of home detention for a period of six (6) months to commence when
         directed by the probation officer. During this time, the defendant will remain at place of residence except for
         employment and other activities approved in advance by the defendant’s probation officer. The defendant will
         maintain telephone service at her place of residence without an answering device, call forwarding, a modem, caller
         ID, call waiting, or a cordless telephone for the above period.

         At the discretion of the probation officer, the defendant shall wear an electronic monitoring device and follow
         electronic monitoring procedures as specified by the probation officer. The defendant shall pay the cost of electronic
         monitoring as determined by the probation officer.
                      Case 2:09-cr-00422-TLN Document 183 Filed 12/05/11 Page 4 of 5
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:09CR00422-06                                                                              Judgment - Page 4 of 5
DEFENDANT:                    TEAONA WILLIAMS


                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                          Fine                    Restitution
       Totals:                                          $ 100                          $ Waived                   $ 7,580


[]     The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victims must be paid before the United States is paid.



Name of Payee                         Total Loss*                                 Restitution Ordered Priority or Percentage
Rena Kapur                                                                               $7,580
United States Department of Education
OCFO-Financial Management Operations
Accounts Receivable Group
550 12th Street, SW, Room 6107
Washington, DC 20202-4461

       TOTALS:                                            $                            $ 7,580



[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ U]      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [U] The interest requirement is waived for the                  [ ] fine          [U] restitution

       [ ] The interest requirement for the                   [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.



  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                      Case 2:09-cr-00422-TLN Document 183 Filed 12/05/11 Page 5 of 5
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:09CR00422-06                                                                          Judgment - Page 5 of 5
DEFENDANT:                   TEAONA WILLIAMS

                                                SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with          [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of            (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within    (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
